Case 17-24818-GLT    Doc 47-1 Filed 02/04/19 Entered 02/04/19 07:55:14   Desc
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Case 17-24818-GLT    Doc 47-1 Filed 02/04/19 Entered 02/04/19 07:55:14   Desc
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Case 17-24818-GLT    Doc 47-1 Filed 02/04/19 Entered 02/04/19 07:55:14   Desc
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Case 17-24818-GLT    Doc 47-1 Filed 02/04/19 Entered 02/04/19 07:55:14   Desc
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                                                           Exhibit A - Sales Agreement Page 18 of 18
        CHANGE IN TERMS ADDENDUM TO AGREEMENT OF SALE                                                                                                                                 CTA
        This form recommended and approved for, but not restricted to use by, the members of the Pennsylvania Association of Realtors® (PAR).

    1 PROPERTY 103 Pickwick Dr, Bethel Park, PA 15102-1721
    2 SELLER Natalie Cardiello BK Trustee
    3 BUYER      ｅｲｮ･ｳｴ＠ｒｯ｢･ｲｴ＠ｒｯｳｳｩ＠｡ｮ､＠ｋ｡ｲ･ｮ＠ｓＮ＠ｒｯｳｳｩ＠ａｳｳ･ｴ＠ｐｲｯｴ･｣ｴｩｯｮ＠ｔｲｵｳｴ

    4   The following terms of the Agreement of Sale are changed as stated below:
    5   1. REPAIRS
    6      Seller, at Seller’s expense, will complete the following repairs no later than         days prior to Settlement Date (prior to settle-
    7      ment, if not specified), in a workmanlike manner, with all required permits, according to the attached contractor’s proposal(s), if
    8      any, the terms of which, including the persons and specifications contained therein, shall become part of this Agreement:
    9
   10
   11
   12
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   14
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   19
   20   2. SELLER ASSIST
   21      Seller Assist is changed to $                   , or            % of the Purchase price, maximum, toward Buyer’s costs as permit-
   22      ted by the mortgage lender, if any. Seller is only obligated to pay up to the amount or percentage which is approved by mortgage
   23      lender.
   24   3. PURCHASE PRICE
   25      Purchase price is changed from $ 130,100.00                     to $ 138,800.00                .
   26   4. ACCEPTANCE & SETTLEMENT
   27      (A) Written acceptance of all parties will be on or before:
   28      (B) Settlement Date is changed from                                                  to
   29   5. MORTGAGE TERMS
   30      (A) Mortgage Type is changed from                                                    to
   31      (B) Mortgage amount
   32           1. First mortgage amount is changed from $                                      to $
   33           2. Second mortgage amount is changed from $                                     to $
   34      (C) Mortgage Lender
   35           1. First mortgage lender is changed to
   36           2. Second mortgage lender is changed to
   37           3. Buyer will submit a completed, written mortgage application to the identified lender(s), if any, according to the terms of
   38              the Mortgage Contingency paragraph of the Agreement of Sale on or before:
   39      (D) Loan-To-Value (LTV) ratio (For conventional loans)
   40           First mortgage LTV ratio not to exceed                %          Second mortgage LTV ratio not to exceed               %
   41      (E) Date for Buyer to deliver documentation of lender’s approval of Buyer’s mortgage, whether conditional or outright, is
   42           changed from                                                     to
   43   6. TIME PERIODS
   44      (A) The time period in paragraph                  , line         of Agreement of Sale is changed to                              .
   45      (B) The time period in paragraph                  , line         of the          Addendum is changed to                          .
   46   7. OTHER
   47      Closing to occur within 45 days of execution of this document
   48
   49   All other terms and conditions of the Agreement, including all other time periods, remain unchanged and in full force and effect.
                                                                  ｅｲｮ･ｳｴ＠ｒｯ｢･ｲｴ＠ｒｯｳｳｩＬ＠ｔｲｵｳｴ･･                            ＱＯＲＲＯＲＰＱＹ
   50   BUYER                                                                                                 DATE
   51   BUYER                                                                                                 DATE
   52   BUYER                                                                      ｋ｡ｲ･ｮ＠ｓＮ＠ｒｯｳｳｩＬ＠ｔｲｵｳｴ･･    DATE                                              ＱＯＲＲＯＲＰＱＹ
   53   SELLER                                                                   Natalie Cardiello BK Trustee DATE
                                                                                                                                                            01/22/2019
   54   SELLER                                                                                                DATE
   54   SELLER                                                                                                DATE

                                                                                                                    COPYRIGHT PENNSYLVANIA ASSOCIATION OF REALTORS® 2018
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   Howard Hanna West Penn, 119 Gamma Drive Pittsburgh PA 15238                                                          Phone: (412)967-9000          Fax:                       103 Pickwick Dr
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